         IN THE DISTRICT COURT OF THE UNITED STATES
        FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      ASHEVILLE DIVISION

                      CRIMINAL NO. 1:05CR257-1


UNITED STATES OF AMERICA                )
                                        )
                                        )
            VS.                         )           ORDER
                                        )
                                        )
NICHOLAS AVILIA PADRON                  )
                                        )


     THIS MATTER is before the Court on a letter addressed to the Clerk

of Court, dated October 15, 2008, which the Court construes as a pro se

motion for return of seized property. Defendant’s Motion, filed October

24, 2008.

     Defendant was arrested in October 2005, on drug charges to which

he subsequently pled guilty and was sentenced to 63 months

imprisonment. Warrants for Arrest, filed October 17, 2005; Judgment

in a Criminal Case, filed September 5, 2006, at 1. In the instant motion,

he claims that, on the day of his arrest, the Government wrongfully seized

his house, eight vehicles, various pieces of jewelry, and cash and checks

in the amount of $8,000.00. Motion, supra, at 1.




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      The Court’s review of the record indicates that no items were listed

for forfeiture in either the criminal complaint or the indictment. Criminal

Complaint, filed October 17, 2005; Indictment, filed October 24, 2005.

Defendant’s plea agreement states that certain items belonging to

Defendant were destined for forfeiture and references a list of these items

in “Exhibit 1.” Plea Agreement, filed December 19, 2005, at 8. In fact,

no such exhibit is appended to the plea agreement. Moreover, no

forfeiture proceedings appear to have taken place with respect to

Defendant’s property.

      Because there is insufficient information in the record to determine

the merits of Defendant’s pro se motion, the Government will be directed to

respond to the issues raised therein.

      IT IS, THEREFORE, ORDERED that the Government file response

to Defendant’s pro se motion filed October 24, 2008, within 15 DAYS from

entry of this Order.

                                        Signed: October 30, 2008




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